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                        IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION


   KATE GRANT, an individual,
                                                         CORPORATE DISCLOSURE
          Plaintiffs,                                   STATEMENT OF DEFENDANT
   v.                                                       SPENCER TAYLOR

   KEVIN LONG; MILLCREEK COMMERCIAL
   PROPERTIES, LLC; COLLIERS                           Case No. 2:23-cv-00936-AMA-CMR
   INTERNATIONAL; BRENT SMITH;
   SPENCER TAYLOR; BLAKE MCDOUGAL;
   and MARY STREET,                                        Judge Ann Marie McIff Allen
          Defendants.


         Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and the Court’s February 26,

  2025, Order, Defendant Spencer Taylor (“Taylor”), by and through his counsel of record, hereby

  makes the following disclosure.

         Taylor is an individual, not an entity, and therefore outside the scope of the mandatory

  corporate disclosures under Rule 7.1. See Fed. R. Civ. P. 7.1(a)(1) (applicable to a
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  “nongovernmental corporate party or a nongovernmental corporation that seeks to intervene”).

  Given the Court’s request that the parties treat these disclosures as if diversity were at issue, Taylor

  states that he is a citizen domiciled in Utah.

         DATED this 28th day of February 2025.

                                                   RAY QUINNEY & NEBEKER P.C.


                                                   /s/ Nathan L. Jepson
                                                   Justin T. Toth
                                                   Maria E. Windham
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                                                   Attorneys for Defendant Spencer Taylor




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                                   CERTIFICATE OF SERVICE

            I hereby certify that on this 28th day of February 2025, a true and correct copy of the

  foregoing CORPORATE DISCLOSURE STATEMENT OF DEFENDANT SPENCER

  TAYLOR was filed electronically with the Court using the CM/ECF system which automatically

  provides notice to counsel of record.


                                                /s/ TerriAnne Gillis

  1700209




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